983 F.2d 1058
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.David Charles MCCLINTON, Defendant-Appellant.
    No. 92-6702.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 7, 1992Decided:  December 30, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  Robert D. Potter, District Judge.  (CR-89-98-C, CR-89-99-C, CR-89-100-C, CR-89-101-C, CR-89102-C, CR-89-103-C, CR-89-24-ST, CA-91-206-P-C-C)
      David Charles McClinton, Appellant Pro Se.
      Thomas J. Ashcraft, United States Attorney, Carl Horn, III, Office of the United States Attorney, Charlotte, North Carolina, for Appellee.
      W.D.N.C.
      AFFIRMED.
      Before HALL, NIEMEYER, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      David Charles McClinton appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  United States v. McClinton, Nos.  CR-89-98-C, CR-89-99-C, CR-89-100-C, CR-89-101-C, CR-89-102-C, CR-89-103-C, CR-89-24-ST, CA-91206-P-C-C (W.D.N.C. May 19 and June 4, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We also deny McClinton's Motion for Production of Documents and Transcripts
      
    
    